Case 1:19-cr-10080-LTS Document 2719-46 Filed 08/15/23 Page 1 of 4




         EXHIBIT 46
     Case 1:19-cr-10080-LTS Document 2719-46 Filed 08/15/23 Page 2 of 4
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 2                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 3

 4
       UNITED STATES OF AMERICA,               )
 5                        Plaintiff            )
                                               )
 6     vs.                                     ) No. 1-19-CR-10080
                                               )
 7     GAMAL ABDELAZIZ and JOHN                )
       WILSON,                                 )
 8                        Defendants.          )
                                               )
 9                                             )

10

11
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
12                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 19
13

14
                   John Joseph Moakley United States Courthouse
15                               Courtroom No. 4
                                One Courthouse Way
16                         Boston, Massachusetts 02210

17

18                                 October 6, 2021
                                      9:21 a.m.
19

20

21
                           Kristin M. Kelley, RPR, CRR
22                             Debra Joyce, RMR, CRR
                             Official Court Reporters
23                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
24                          Boston, Massachusetts 02210
                             E-mail: kmob929@gmail.com
25
                   Mechanical Steno - Computer-Aided Transcript
           Case 1:19-cr-10080-LTS Document 2719-46 Filed 08/15/23 Page 3 of 4
                                                                                          56




      1      his taxes.    And you know that those lies mattered because they

      2      inhibited the IRS from figuring out what he actually owed and

      3      because it helped save him close to $90,000.

      4                 During the course of this trial, ladies and gentlemen,

      5      you've heard a lot about the college recruitment process and

      6      the admissions process.       You've seen hundreds of documents and

      7      e-mails.    You've listened to numerous recorded phone calls.

      8      You've heard from over a dozen witnesses, but at the end of the

      9      day, the only thing you really need to decide this case is what

10:59 10     you walked into this courtroom with three and a half weeks ago,

     11      and that's your common sense.

     12                 Common sense tells you that it is wrong to fake your

     13      children's athletic qualifications to get them admitted to

     14      highly competitive colleges as recruited athletes when they

     15      aren't good enough to play and they don't intend to.               That is

     16      fraud.

     17                 Common sense tells you that it is wrong to get

     18      insiders at those schools to mislead their colleagues to

     19      recruit those children using those falsified credentials in

11:00 20     exchange for money.      That is honest services fraud, bribery.

     21                 And common sense tells you it is wrong to lie on your

     22      taxes by deducting the cost of those bribes as fake business

     23      expenses and phony charitable contributions.          That is tax

     24      fraud.

     25                 You don't need to be a senior corporate executive or a
     Case 1:19-cr-10080-LTS Document 2719-46 Filed 08/15/23 Page 4 of 4
                                                                           162




 1                            C E R T I F I C A T E

 2

 3

 4     UNITED STATES DISTRICT COURT )

 5     DISTRICT OF MASSACHUSETTS         )

 6

 7

 8                 We, Kristin M. Kelley and Debra Joyce, certify that

 9     the foregoing is a correct transcript from the record of

10     proceedings taken October 6, 2021 in the above-entitled matter

11     to the best of my skill and ability.

12

13

14           /s/ Kristin M. Kelley                       October 6, 2021

15           /s/ Debra Joyce                             October 6, 2021

16           Kristin M. Kelley, RPR, CRR                     Date
             Debra Joyce, RMR, CRR
17           Official Court Reporters

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